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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   Charlottesville Division

 MANGANARO MIDATLANTIC, LLC

                        Plaintiff

        v.                                                    Case No. 3:19-cv-00080-GEC

 KBE BUILDING CORPORATION
 and FEDERAL INSURANCE COMPANY

                        Defendants.


                                ANSWER TO COUNTERCLAIM

        Manganaro answers KBE's Counterclaim as follows:

        1.      Manganaro is without sufficient information to form a belief as to the truth or

 falsity of the allegations of paragraph 1 of the Counterclaim, and therefore denies those

 allegations.

        2.      Manganaro admits the allegations of paragraph 2 of the Counterclaim.

        3.      Manganaro admits the allegations of paragraph 3 of the Counterclaim.

        4.      Manganaro admits the allegations of paragraph 4 of the Counterclaim.

        5.      Manganaro admits the allegations of paragraph 5 of the Counterclaim.

        6.      Manganaro admits the allegations of paragraph 6 of the Counterclaim.

        7.      With regard to the allegations of paragraph 7 of the Counterclaim, Manganaro

 admits only that it entered into a written subcontract with KBE for the Project, a copy of which

 Manganaro attached to its Complaint, and that the subcontract defines each party's respective

 obligations. Manganaro denies the remaining allegations of the paragraph, including KBE's

 characterizations of the subcontract.

        8.      Manganaro denies the allegations of paragraph 8 of the Counterclaim.
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        9.      Manganaro denies the allegations of paragraphs 8(a) through 8(w) of the

 Counterclaim. Moreover, these allegations are non-factual and conclusory and fail to adequately

 state a claim against Manganaro.

        10.     Manganaro denies the allegations of paragraph 9 of the Counterclaim.

        11.     Manganaro denies the allegations of paragraph 10 of the Counterclaim.

 Moreover, these allegations are non-factual and conclusory and fail to adequately state a claim

 against Manganaro.

        12.     Manganaro denies the allegations of paragraph 11 of the Counterclaim.

        13.     Manganaro denies the allegations of paragraph 12 of the Counterclaim.

                                    Defenses under Rule 12(b)(6)

        14.     KBE fails to state adequate facts in support of its counterclaim and therefore fails

 to state a claim upon which relief may be granted.

                                       Affirmative Defenses

        15.     Manganaro generally denies the Counterclaim and denies that it committed the

 wrongs alleged.

        16.     KBE's damages, if any, were caused by KBE's own conduct, breaches, or

 negligence, or by similar conduct by persons for whom KBE is responsible.

        17.     KBE's claim is barred by its own supervening breach of contract.

        18.     KBE's claim is barred the failure of a condition precedent.

        19.     KBE's claim is barred by the doctrine of accord and satisfaction.

        20.     KBE's claim is barred by the doctrine of payment and/or release.

        21.     KBE's claim is barred by the doctrine of waiver.

        22.     KBE's claim is barred by the doctrine of estoppel.

        23.     KBE's claim is barred by operation of the statute of frauds.
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             24.    KBE has not sustained actionable damages.

             25.    KBE has failed to mitigate its damages.

                                                 Reservation

             26.    Manganaro reserves the right to supplement or amend this answer with additional

 affirmative defenses or otherwise to the extent additional defenses are revealed during discovery

 or trial.

 Dated: February 26, 2020                                  Respectfully submitted,


                                                           ___________/s________________
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                                                           Counsel for Manganaro Midatlantic, LLC


                                            Certificate of Service

             I certify that on February 26, 2020, I will electronically file the foregoing with the Clerk

 of the Court using the CM/ECF system, which will then send notification of such filing (NEF) to

 all counsel of record.



                                                           ___________/s________________
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